        Case 1:15-cv-00215-MAB Document 270                 Filed 03/28/19     Page 1 of 8



                  UNITED STATES COURT OF INTERNATIONAL TRADE

 United States,

                          Plaintiff,

            v.                                          BEFORE Honorable Mark A. Barnett

 Univar USA Inc.,                                       Court No. 15-00215
                          Defendant.



                  UNIVAR’S RENEWED MOTION IN LIMINE
            FOLLOWING THE COURT’S MARCH 26 AND 27, 2019 ORDERS

       On March 26, 2019, this Court held that the “determination of the quantum of civil

penalties pursuant to section 1592(c) is not an issue triable to the jury.” (ECF No. 266 at 12.) In

light of that ruling, Univar USA Inc. (“Univar”) renews its objections to several categories of

evidence described in its Omnibus Motion in Limine because this evidence is not relevant to the

core issues in the case—origin of the saccharin, negligence, and mistake of fact—to be tried before

the jury, but only relevant to the penalty determination. (ECF No. 218.) Plaintiff initially opposed

Univar’s motion on the grounds that these categories of evidence were relevant to a determination

of the discretionary penalty. (See, e.g., ECF No. 221 at 4–5, 9–10.)

       On March 27, 2019, this Court ruled on Univar’s motion to exclude the testimony of Agent

Kriplean. (ECF No. 267.) The Court held that “[t]his case does not involve the safety of Univar’s

imported saccharin, violations of FDA statutory or regulatory requirements, nor anything

involving bioterrorism, and such references are only likely to confuse or unduly prejudice the

jury.” (Id. at 5.) In light of this ruling, Univar renews its motion to exclude evidence and argument

that pertain to health and safety. Plaintiff opposed Univar’s motion to exclude these topics on the
           Case 1:15-cv-00215-MAB Document 270               Filed 03/28/19     Page 2 of 8



ground that these categories of evidence were relevant to Univar’s degree of culpability. (See,

e.g., ECF No. 221 at 7.)

        In light of this Court’s March 26 ruling that the discretionary penalty is not an issue for the

jury, and its March 27 ruling that issues of health, safety, and bioterrorism have no place in this

trial, Plaintiff can no longer support the admission of the categories of evidence and argument

addressed in this renewed motion in limine. The following evidence should be excluded from the

jury trial:

        Univar’s Corporate “Character” and Payment of Taxes. Univar moved to exclude “all

evidence, argument, and expert commentary suggesting that Univar avoids taxes or is a bad

corporate actor or corporate citizen” on the grounds that such evidence is immaterial to any factual

dispute at issue, constitutes impermissible character evidence, and would only serve to prejudice

Univar and distract from the issues. (ECF No. 218 at 2–3.) Plaintiff argued in response that

“defendant’s history of previous violations” and its “corporate character” were relevant to the

determination of the civil penalty pursuant to the factors laid out in United States v. Complex

Machine Works Co., 83 F. Supp. 2d 1307, 1315 (C.I.T. 1999). (ECF No. 221 at 4.) This Court

denied the motion in limine without prejudice. (ECF No. 230.)

        Evidence of Univar’s corporate “character” and its payment of taxes have no bearing on

whether the saccharin was made in China, whether Univar was negligent, or whether Univar made

a mistake of fact. As a result, this evidence is not relevant to any issue to be tried by the jury in

light of the Court’s March 26, 2019 order, and Univar’s motion to exclude this evidence should be

granted.

        Univar’s Financial Condition and Ability to Pay. In its Omnibus Motion in Limine,

Univar moved to exclude evidence, argument, and expert commentary pertaining to “the overall



                                                  2
           Case 1:15-cv-00215-MAB Document 270              Filed 03/28/19      Page 3 of 8



magnitude of Univar’s business operations, including without limitation Univar’s (1) overall

yearly revenues or profits, (2) overall worth and/or market capitalization, (3) status as a publicly-

traded company, and (4) its ability to pay any antidumping duties or penalties that Plaintiff seeks

to impose” under Federal Rules of Evidence 401, 402, and 403. (ECF No. 218 at 3.) Plaintiff

argued in opposition that “a defendant’s ability to pay; the size of its business operations; the

economic benefit it gained as a result of the violation; and the effect of any penalty on Univar’s

continued operations are factors that should be taken into account in order to determine an

appropriate penalty” in accordance with the Complex Machine Works factors. (ECF No. 221 at 4–

5.) This Court denied the motion in line without prejudice. (ECF No. 230.)

       The Complex Machine Works factors will not be considered by the jury at trial. (ECF No.

266 at 12.) Evidence regarding Univar’s financial condition and ability to pay have no bearing on

whether the saccharin was made in China, whether Univar was negligent, or whether Univar made

a mistake of fact. Because this evidence is not relevant to any issue to be tried by the jury in light

of the Court’s March 26, 2019 order, Univar’s motion to exclude this evidence should now be

granted.

       Argument Regarding “Public Interest” and to “Send a Message.” Univar argued that

Plaintiff should be barred, under Federal Rules of Evidence 401, 402, and 403, from argument

“relating to the use of this case to ‘send a message’ to the business community concerning payment

of tariffs or duties, or to ‘make an example’ of Univar.” (ECF No. 218 at 9.) Plaintiff argued that

“Univar’s level of culpability, the public interest in ensuring food product imports are accurately

identified and sourced, the appropriateness of the penalty sought by the Government and its

financial impact on Univar, and the harm to the public as a result of Univar’s violation” were




                                                  3
        Case 1:15-cv-00215-MAB Document 270                 Filed 03/28/19     Page 4 of 8



relevant issues under Complex Machine Works. (ECF No. 221 at 9.) This Court denied the motion

in limine without prejudice. (ECF No. 230.)

       Plaintiff’s arguments have been rendered incorrect by the Court’s March 26, 2019 order.

Any argument to “send a message” to Univar has no place in a trial regarding whether the saccharin

was made in China, whether Univar was negligent, or whether Univar made a mistake of fact.

Moreover, to the extent the Government intends to contend that the jury should act to protect the

public interest in food safety or preventing bioterrorism, that argument is foreclosed by the Court’s

March 27 ruling. Although saccharin may be used in consumer products (e.g. toothpaste), there is

no issue about food safety or the public interest in food safety relevant to this case. As a result,

Univar’s motion to exclude arguments appealing to the public interest generally, the public interest

in food safety, or to “send a message” should be granted.

       Other Litigation. Univar’s Omnibus Motion in Limine also requested that this Court

exclude evidence, argument, and expert commentary “relating to any other legal matters or

disputes in which Univar is a party” under Federal Rules of Evidence 401, 402, 403, and 404.

(ECF No. 218 at 9–10.) Plaintiff opposed, arguing solely that the Complex Machine Works factors

made any prior violations relevant to the amount of the penalty. (ECF No. 221 at 9–10.) This

Court denied the motion in limine without prejudice. (ECF No. 230.)

       Evidence and argument regarding other litigation have been rendered irrelevant by the

Court’s March 26, 2019 order. References to other cases have no place in a jury trial regarding

whether the saccharin was made in China, whether Univar was negligent, or whether Univar made

a mistake of fact. As a result, Univar’s motion to exclude this evidence or argument should now

be granted.




                                                 4
        Case 1:15-cv-00215-MAB Document 270                    Filed 03/28/19   Page 5 of 8



       Univar’s Presence in China. Univar argued that Plaintiff should be precluded from

offering evidence, argument, or expert commentary relating to Univar’s presence in China,

because such evidence was irrelevant, and could be prejudicial. (ECF No. 218 at 10.) In response,

Plaintiff suggested that the “public interest” and “harm to the public” prongs of the Complex

Machine Works analysis made some such evidence relevant. (ECF No. 221 at 10.) The Court

denied the motion in limine without prejudice. (ECF No. 230.)

       Plaintiff’s reason for the admission of this testimony—one of the Complex Machine Works

factors—is no longer an issue for the jury. Because this topic sheds no light on whether the

saccharin was made in China, whether Univar was negligent, or whether Univar made a mistake

of fact, this topic should not be addressed before the jury.

        Safety and Quality of Saccharin and Manufacturing Process. In its Omnibus Motion

in Limine, Univar asked the Court to exclude “all evidence, argument, and expert commentary

relating to the safety or quality of saccharin, any of the compounds commonly used to produce it,

or the processes used to manufacture it, and specifically the safety and quality of the saccharin

entries at issue in this case.” (ECF No. 218 at 6–7.) As an example of the type of evidence at

issue, Univar pointed out that in the deposition of Univar’s chemistry expert, Dr. Len Chyall,

Plaintiff asked a number of questions concerning the toxicity or corrosiveness of the various

compounds used to produce saccharin. (See id.) In response, the Government contended that these

issues were relevant to Univar’s degree of culpability. (ECF No. 221 at 7–8.) Plaintiff also argued

that evidence concerning the method used to manufacture the saccharin was relevant to

determining the origin of the material. (Id.) The Court denied the motion in limine without

prejudice. (ECF No. 230.)




                                                  5
        Case 1:15-cv-00215-MAB Document 270                Filed 03/28/19     Page 6 of 8



       Issues relating to health and safety of the imported saccharin are barred by the Court’s

March 27 order. (ECF No. 267 at 5.) To the extent Plaintiff attempts to rely on this evidence to

show culpability, one of the Complex Machine Works factors, it is likewise improper in this jury

trial, as such issues will be decided by the Court.1 Evidence as to the chemical composition of the

saccharin, and the methods used to manufacture it, may be admitted if relevant to prove its origin.

Even then, Plaintiff should be cautioned not to suggest that Univar’s importation of saccharin

created health or safety issues. Because concerns about health or safety shed no light on whether

the saccharin was made in China, whether Univar was negligent, or whether Univar made a

mistake of fact, this topic should not be addressed before the jury.

                                         CONCLUSION

       For the foregoing reasons, Univar respectfully requests that this Court grant Univar’s

motion barring Plaintiff from presenting evidence, argument, or expert commentary regarding any

of the documents identified above.




1 Inlight of this Court’s March 26, 2019 ruling, the degree of culpability is not a jury issue. (ECF
No. 266 at 12.) A determination of negligence or gross negligence is not relevant to any remedy
under the statute except, arguably, the discretionary penalty under the Complex Machine Works
factors. Compare 19 U.S.C. § 1592(c)(2)(A)(i), with 19 U.S.C. § 1592(c)(3)(A)(i). Because a
determination of the discretionary penalty is no longer before the jury, any evidence going to the
degree of culpability is not relevant in the jury trial.

                                                 6
       Case 1:15-cv-00215-MAB Document 270       Filed 03/28/19       Page 7 of 8



Dated: March 28, 2019             Respectfully Submitted,

                                  By: Defendant Univar USA, Inc.

                                  /s/       Craig C. Martin
                                            Craig C. Martin
                                            Sara Tonnies Horton
                                            LaRue L. Robinson
                                            Aaron J. Hersh
                                            JENNER & BLOCK LLP
                                            353 N. Clark Street
                                            Chicago, Illinois 60654
                                            (312) 222-9350 (phone)
                                            cmartin@jenner.com
                                            shorton@jenner.com
                                            lrobinson@jenner.com

                                            Counsel for Defendant Univar USA Inc.




                                        7
        Case 1:15-cv-00215-MAB Document 270              Filed 03/28/19     Page 8 of 8



                    CERTIFICATE OF SERVICE AND COMPLIANCE

       Pursuant to Chambers Procedure 2(B)(2), I hereby certify that Univar’s Renewed Motion

in Limine Following the Court’s March 26 and 27, 2019 Orders contains 1,666 words and thus

complies with the Court’s word limitation. I further certify that a true and correct copy of this

brief was filed electronically by CM/ECF, which caused notice to be sent to all counsel of record

and constitutes service in this action pursuant to Paragraph 7(a) of Administrative Order No. 02-

01.

                                                           /s/ LaRue L. Robinson
                                                           LaRue L. Robinson




                                               8
